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1                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
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3
       UNITED STATES OF AMERICA,            Case No.: 0:12-cr-295-PAM-AJB
4
                        Plaintiff,                    TRANSCRIPT
5
                 v.                                       OF
6
       ERIC WADE FORCIER,                            PROCEEDINGS
7
                         Defendant.             (SENTENCING HEARING)
8
       -------------------------------------------------------------
9

10                 The above-entitled matter came on for SENTENCING

11     HEARING before Senior Judge Paul A. Magnuson, on July 16th,

12     2013, at the United States District Courthouse, Courtroom 7D,

13     316 N. Robert Street, St. Paul, Minnesota 55101, commencing

14     at approximately 10:00 a.m.

15

16     REPORTED BY:    Ronald J. Moen, Official Court Reporter, CSR,
                       RMR.

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20                                               CALIFORNIA CSR NO.:        8674

21                                          ILLINOIS CSR NO.:         084-004202

22                                               IOWA CSR NO.:        495

23                                               RMR NO.:      065111

24

25
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1                             APPEARANCES

2                  OFFICE OF THE U.S. ATTORNEY, 300 South Fourth

3      Street, Suite 600, Minneapolis, Minnesota 55415, by ALLEN A.

4      SLAUGHTER, JR., Assistant United States Attorney, appeared

5      as counsel on behalf of Plaintiff.

6                  KYLE D. WHITE, Attorney at Law, 332 Minnesota

7      Street, Suite W-1710, St. Paul, Minnesota 55101, appeared as

8      counsel on behalf of Defendant.

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1                  THE COURT:    Good morning, everyone.      We have the

2      matter of the United States versus Forcier.         If you'd come

3      forward, please.     And counsel, Mr. Forcier, you are in

4      receipt of the presentence report.        I don't believe there are

5      any objections to that report, and on that basis the Court

6      would find the total offense level is 28.         The criminal

7      history score is VI.      The imprisonment range is a hundred and

8      forty to a hundred and seventy-five months on Counts 1, 2 and

9      4, and seven years consecutive on Count 3.         Supervised

10     release is two to five years.       Fine range is $12,500 to

11     $125,000.    There is no eligibility for probation.        There's no

12     recommendation for a departure.       And there will be a special

13     assessment in the sum of $400; that's $100 per Count of

14     conviction.

15                 Essentially, this is a plea agreement in this

16     matter that has essentially tied the Court's hands.

17                 With that, are there any comments on behalf of the

18     defendant?

19                 MR. WHITE:    No, your Honor.

20                 THE COURT:    Mr. Forcier, do you have any comments

21     to make before penalty is imposed?

22                 THE DEFENDANT:    Is this where I get my chance to

23     talk?

24                 THE COURT:    This is where you get your chance,

25     that's right.
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1                  MR. WHITE:    Your Honor, I'm sorry, I thought you

2      were talking about the PSI.       I do have a couple of comments,

3      if I may.    I'll be very brief.

4                  THE COURT:    I was a little bit shocked.      Go ahead.

5                  MR. WHITE:    Your Honor, we are asking for the Court

6      to accept and adopt the plea agreement in this matter.         I

7      think there was a conscientious attempt on the part of the

8      Government and the defense to figure out for Mr. Forcier what

9      would be a fair resolution to this case.         And I would just

10     comment to your Honor, if I may, that we have seen many

11     individuals, and you've seen many more individuals, who are

12     here because of drugs and their addiction to drugs.

13     Mr. Forcier, from my own viewpoint, is really two people.

14     When he's been on drugs and he's been essentially in the

15     throes of an addiction, he's one person.         I think the support

16     that he has here today is a strong indication of the kind of

17     person that he can be, and really is.        I don't think I've

18     seen a more supportive group of family and friends in a case

19     in a long time.     And I'm very impressed with Mr. Forcier's

20     family and friends who have come here today, taking the time

21     out of their schedules to just tell him that they wish him

22     well and they want the best for him.        In many respects, I

23     think Mr. Forcier is dealing with this much better than those

24     family and friends that are here.        They're the ones that I

25     think really will have a difficult time seeing this sentence
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1      imposed, and his absence.         Bottom line, again, we would ask

2      the Court to adopt and accept the plea agreement as

3      constructed under 11(c)(1)(C).

4                  THE COURT:    Okay.    Thank you very much.

5                  Mr. Forcier.

6                  THE DEFENDANT:    I just want to thank everyone today

7      for coming here and supporting me.        As Kyle said, I'm two

8      different people.     I've struggled with drug addiction for a

9      long time.    I'm truly sorry for everything that I did, and

10     I'm ready to go do whatever I have to do to pay the

11     consequences.    I would ask that you keep me within the region

12     with your referral.      I'd prefer to go to Oxford, Wisconsin to

13     stay close to my family.      Like I said, I have a severe drug

14     addiction problem.     If I can get treatment while I'm down

15     there, I would really appreciate that also.         Obviously

16     "sorry" isn't enough for what I've done.         I've affected

17     people's lives in a great manner and if I could take that

18     back I would.    I just thank everybody for their time here

19     today.   That's all I've got to say.

20                 THE COURT:    Okay.    Thank you very much.    Any

21     comments on behalf of the Government?

22                 MR. SLAUGHTER:    Yes, your Honor.     Allen Slaughter

23     for the United States.      We would also ask the Court to accept

24     the terms of the plea agreement.        We worked with defense

25     counsel to try to at least assure ourselves in trying to
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1      resolve this case that there would be some minimum amount of

2      sanction.    As the Court heard, there were five separate armed

3      robberies in which the defendant was the principal.            Many

4      victims, many different places, especially over the course of

5      October of last year.      That being said, we understand, just

6      as the defendant has spoken about, that this was a

7      drug-addled act.     But in giving up, essentially, what is

8      another 75 to a hundred years of potential sentencing, we

9      wanted to make sure that there was at least some minimum

10     amount of sanction for the purposes of just general

11     deterrence, specific deterrence, and some consequence for his

12     actions themselves.

13                 And with that, your Honor, we'd ask that your Honor

14     accept, at least, the terms of the plea agreement.

15                 THE COURT:    Okay.   Thank you, Mr. Slaughter.

16                 Well, the Court does accept the plea agreement in

17     this matter, and I do so with the caveat that, generally

18     speaking, I'm very much against this kind of a plea agreement

19     and, generally speaking, I refuse to accept them.          But that's

20     a thing called an "independent judge."         But this happened to

21     be a unique situation.      First of all, you can take the

22     comments that Mr. Slaughter just made as appropriate.           And

23     the fact is, with great respect for Mr. White and lawyers

24     that have worked on this case, oftentimes you know a lot more

25     than those of us that are on this side of the bench know.
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1      And when you see a situation where some kind of justice can

2      be established through this vehicle, it's appropriate.           It's

3      appropriate in this case.      Sentences are very long, and the

4      sentence that you're about to receive, Mr. Forcier, is very

5      long.   That is not really a question of anybody that's in

6      this courtroom.     That's a question of decisions that have

7      been made by the United States Congress, and it's the

8      decisions that have been made by virtue of a number of things

9      that have occurred over the years relating to drugs and drug

10     enhancement and related crimes, and so forth.          And that leads

11     to this.

12                 Now, there is a second side to all of that,

13     Mr. Forcier.    And I have to tell you in some respects you're

14     fortunate because, you know, some bullet could have met its

15     mark or some event or something could have occurred in one of

16     these robberies and death could have resulted and you'd be

17     facing a very, very different situation.         Society can't

18     permit that to happen, drugs or no drugs.         You can't have an

19     excuse for that, it's just as simple as that.          You cannot

20     permit in an orderly society to have this kind of conduct

21     occur without due and just punishment.         You've got to tell

22     you not to do it anymore, and you've got tell everybody else

23     not to do it anymore.      That's part of what's going on here.

24                 The final thing I want to comment on, to kind of

25     follow up with what you said to your family and friends that
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1      are here, you know, you don't know the number of days that I

2      come in here with prosecutors, defense lawyers and a

3      defendant, and that defendant stands here all alone,

4      abandoned by everybody.      And it's a very special thing to see

5      that people -- even in difficult times that people will rally

6      to your benefit and to your side.        Hold that in your heart.

7      Keep that because it is important and it's very valuable.

8                  Based upon these comments and pursuant to the

9      Sentencing Reform Act of 1984, it is the judgment of the

10     court that you are hereby committed to the custody of the

11     Bureau of Prisons for imprisonment for a term of 240 months.

12     This term consists of 156 months on each of Counts 1 and 2,

13     and 84 months on Count 3, 120 months on Count 4, with Counts

14     1, 2 and 4 to be served concurrent with one another, and

15     Count 3 to be served consecutive to Counts 1, 2 and 4.

16                 In addition to this, mandatory restitution in the

17     sum of $4,288 is ordered, and that is with the victims of

18     Eddie's Bar and Grill of $3,420; Dominos Pizza, $160;

19     SuperAmerica, $154; Americas Best Value Inn, $354; and Jiffy

20     Lube, $200.    Payments of not less than $50 per month are to

21     made over a period of three years commencing 30 days after

22     release from confinement.      Payments are to be made payable to

23     the Clerk for the U.S. District Court for disbursement to the

24     victims.    Over the period of incarceration, you shall make

25     payments of either quarterly installments of a minimum of $25
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1      if working non-UNICOR or a minimum of 50 percent of monthly

2      earnings if working UNICOR.       It is recommended that you

3      participate in the Inmate Financial Responsibility Program

4      while incarcerated.     And the interest requirement is waived

5      in accordance with 18 U.S.C. Section 3612(f)(3).

6                  The Court does not order a fine.       However, the

7      Court does order a special assessment in the sum of $400.

8      That is $100 per count of conviction.

9                  Upon release from confinement, you shall be placed

10     on supervised release for a term of five years.          During that

11     five-year period of supervised release, you shall comply with

12     the -- well, I guess I even have to get complicated on that

13     too.   You have five years of supervised release that consists

14     of three years on Counts 1, 2, 4, and five years on Count 3.

15     All of these terms are to be served concurrently.

16                 Mandatory conditions that are applicable are you

17     must report to the U.S. Probation Office/Pretrial Service

18     Office in the district which you're released within 72 hours

19     of release from the custody of the Bureau of Prisons.

20                 You shall not commit any crimes, federal, state or

21     local.

22                 You shall not illegally possess a controlled

23     substance, and you shall refrain from any unlawful use of a

24     controlled substance.      You shall submit to one drug test

25     within 15 days of release from imprisonment, at least two
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1      periodic drug tests thereafter as determined by the Probation

2      Office.

3                  You shall not possess a firearm, ammunition,

4      destructive device or other dangerous weapon.

5                  You shall cooperate in the collection of DNA as

6      directed by the probation officer.

7                  Restitution is a condition of supervision, and you

8      shall pay in accordance with the schedule of payments

9      established by the Probation Office.

10                 In addition to this, you shall abide by the

11     standard conditions of supervised release that have been

12     adopted by the Court, including the following special

13     conditions:

14                 You shall abstain from the use of alcohol and other

15     intoxicants, and not frequent establishments whose primary

16     business is the sale of alcoholic beverages.

17                 You shall participate in a program for substance

18     abuse as approved by the probation officer.          That program may

19     include testing, inpatient or outpatient treatment,

20     counseling or support group.       Further, you shall contribute

21     to the cost of such treatment as determined by the Probation

22     Office co-payment program not to exceed the total cost of

23     treatment.

24                 If you're not employed at a regular, lawful

25     occupation as deemed appropriate by the probation officer,
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1      you may be required to perform up to 20 hours of community

2      service per week until employed.        You may also participate in

3      training, counseling, daily job search or other employment-

4      related activities as directed by the probation officer.

5                  You shall provide the Probation Office with access

6      to any requested financial information, including credit

7      reports, credit-card bills, bank statements, telephone bills.

8      You shall be prohibited from incurring new credit charges or

9      opening additional lines of credit without approval of the

10     Probation Officer.

11                 In addition to this, the Court would give the

12     recommendation -- although I have to tell you that I do not

13     have any authority on this, I just can only make a

14     recommendation -- that your place of confinement be at the

15     Oxford facility or such other place as close as possible to

16     the District of Minnesota.       In addition to this, during the

17     term of your incarceration that you be permitted to avail

18     yourself of the so-called "500-hour chemical dependency

19     program."

20                 Further, the Court has imposed this sentence at the

21     range applicable to this pursuant to the plea agreement in

22     this matter and the Court having adopted the plea agreement.

23     And I need to put the numbers in there, but I can't remember

24     what they are.

25                 Because you're indigent, and because of your
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1      inability to pay, the Court does not order you to pay a fine,

2      cost of imprisonment, cost of supervision.

3                  And finally, the parties are placed on notice they

4      do have 14 days from this date to file a notice of appeal

5      for review of the sentence.       And during that 14-day period,

6      the Court will retain the presentence investigation in

7      chambers under seal.      And in the event of an appeal will

8      forward the same to the Eighth Circuit Court of Appeals.

9                  Anything further to come to our attention?

10                 MR. WHITE:    No, your Honor.

11                 THE COURT:    The motion to dismiss the Indictment is

12     granted because this was a plea to an Information as opposed

13     to the original Indictment in the matter.

14                 MR. SLAUGHTER:     And I should make sure, for

15     purposes of the record, as to this defendant.          I know we have

16     one defendant that's out there still, as well.

17                      THE COURT:    Yes.    Okay.   Anything further?

18                      MR. SLAUGHTER:    Nothing from the Government,

19     your Honor.

20                      THE COURT:    Okay.   Very well.    Thank you very

21     much.    Wish you the very best.

22                      (Court stood in recess at approximately 10:25

23     a.m., on July 16th, 2013).

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1                                 CERTIFICATE PAGE

2

3             I, Ronald J. Moen, an Official Court Reporter for the
       District of Minnesota, CSR, RMR, and a Notary Public in and
4      for the County of Hennepin, in the State of Minnesota, do
       hereby certify:

5             That the said SENTENCING HEARING was taken before me
       as an Official Court Reporter for the District of Minnesota,
6      CSR, RMR, and a Notary Public at the said time and place and
       was taken down in shorthand writing by me;
7
              That said SENTENCING HEARING was thereafter under my
8      direction transcribed into computer-assisted transcription,
       and that the foregoing transcript constitutes a full, true
9      and correct report of the transcript of the SENTENCING
       HEARING which then and there took place;

10              That I am a disinterested third person to the said

11     action;

12            That the cost of the original has been charged to the
       party that ordered the transcript, and that all parties who
13     ordered copies have been charged at the same rate for such
       copies.
14
                That I reported pages 1 through 13.
15
              IN WITNESS THEREOF, I have hereto subscribed my hand
16     this 29th day of December, 2014.

17

18                                    s/Ronald J. Moen
                                      Ronald J. Moen,
19                                    Official Court Reporter,
                                      CSR, RMR, NP
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